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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                       Alexandria Division


CHIRAG SHAH,

                       Plaintiff,

v.                                                    Civil Action No. l:13-cv-1481 (AJT/JFA)

SOUTHWEST AIRLINES, et aL,

                       Defendants.


                                             ORDER


        This matter is before the Court on Defendant Southwest Airlines' Motion for Summary

Judgment or, in the Alternative, for Partial Summary Judgment [Doc. No. 36], Motion in Limine

to Exclude Testimony of Stan V. Smith [Doc. No. 29], Motion in Limine to Exclude Certain

Testimony of Charlotte Bryan [Doc. No. 30], Motion in Limine to Exclude Evidence of

Southwest's Liability Insurance [Doc. No. 39], and Motion in Limine to Exclude Evidence of

Ava Alley's Reference to "Middle Eastern Looking Men" in her Company Report [Doc. No. 41],

as well as Plaintiffs Motion in Limine for Certain Pretrial Orders [Doc. No. 43]. For the reasons

discussed in open court at the hearing held on August 8, 2014, it is hereby

        ORDERED that Defendant Southwest Airlines' Motion for Summary Judgment or, in the

Alternative, for Partial Summary Judgment [Doc. No. 36] be, and the same hereby is, DENIED;

and it is further


        ORDERED that Defendant Southwest Airlines' Motion in Limine to Exclude Testimony

of Stan V. Smith [Doc. No. 29] be, and the same hereby is, GRANTED.

        The Court reserves judgment on the other motions in limine.

        The Clerk is directed to forward copies of this Order to all counsel of record.
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                                  Anthony J.
                                  United States District Judge

August 8,2014
Alexandria, Virginia
